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                                                                       Page 1

1           IN THE UNITED STATES DISTRICT COURT
2                      DISTRICT OF MINNESOTA
3
4    CIVIL NO. 18-1776 (JRT/HB)
5    0:21-MD-02998-JRT-HB
6    MDL NO. 2998
7
8    IN RE:       PORK ANTITRUST LITIGATION
9    This Document Relates to:                      All Actions
10
11
12
13                       HIGHLY CONFIDENTIAL
14     REMOTE VIDEO DEPOSITION OF MARK GINGERICH
15                          April 14, 2022
16
17
18
19
20
21   REPORTED BY:
22   Angela Smith McGalliard
23   Certified Realtime Reporter
24   Registered Professional
25   Reporter and Notary Public

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                                                                      Page 137

1    information serve?
2                      MR. TAYLOR:             Object to form.
3    Vague.         Calls for speculation.                     Lack of
4    foundation.
5           A.         I think I've tried to explain
6    this a few times.                  In a competitive
7    business, we were striving to be
8    competitive by subscribing to the
9    competitive information.
10          Q.         You see further down Mr. Solsma
11   writes:         We are lagging in the export
12   percent but have made up some ground, 13.1
13   percent versus 22.9 percent for the
14   competition?
15          A.         Okay.        Yes.       I see that.
16          Q.         Did you understand this to refer
17   to the fact that Tyson was exporting a
18   lower percentage of its pork than its
19   competitors?
20          A.         That's how I would understand it,
21   yes.
22          Q.         And so Tyson needed to export
23   more pork to catch up with its competitors'
24   pork export levels?
25                     MR. TAYLOR:             Object to form.

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1    Lack of foundation.                   Calls for speculation.
2           A.         I didn't have oversight to
3    international sales.                    I can only say there
4    probably were times where we wished to
5    export more, and maybe there were times
6    when we didn't wish to export more.                                I
7    don't -- I -- That's difficult for me to
8    answer that.
9           Q.         But one of the agenda items for
10   this meeting was talking about those export
11   percentages; right?
12          A.         It appears that to be the case,
13   yes.
14          Q.         Why would there be times where
15   Tyson would want to increase the amount of
16   pork it was exporting?
17                     MR. TAYLOR:             Object to form.
18   Object to form.                Lack of foundation.                      Calls
19   for speculation.
20          A.         If the -- If they determined
21   there was better realization in the export
22   sales, then that's why they would want
23   more.
24          Q.         Is it true that starting in 2008,
25   the pork industry began reducing the number

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1    of hogs slaughtered and started increasing
2    the amount of pork that was being exported?
3                      MR. TAYLOR:             Object to form.
4    Vague.         Lack of foundation.                   Calls for
5    speculation.
6           A.         Ask that question again, please.
7           Q.         Is it true that starting in 2008,
8    the pork industry began reducing the number
9    of hogs it slaughtered and started
10   increasing the amount of pork that was
11   being exported?
12                     MR. TAYLOR:             Same objections.
13          A.         I do not know the answer to that
14   question.
15          Q.         Let's take a look at tab 11.
16   We're going to mark this as Exhibit 477.
17   It's TF-P-001368185 through 86.
18                                           (Plaintiff's Exhibit
19                                             477 was marked for
20                                             identification.)
21          A.         Okay.
22          Q.         The first page is a fair and
23   accurate copy of an email from Jerry
24   Holbrook, to you and others, dated February
25   24, 2010; correct?

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